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FOR THE DISTRICT OF MARYLAND
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UNITED sTATES oF AMERICA 2 pt n _
v. 2 cRIMINXI’§"i\io'. d(!:JH_'19-96
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cHRIsToPHER PAUL HAssoN, 2
*
Defendant *
***:***

ORDER GRANTING CONTINUANCE
PURSUANT TO 18 U.S.C. 8 3161(h)

Upon consideration of the Consent Motion To Exclude Time Pursuant to 18 U.S.C. § 3161,
the Court makes the following findings:

l. On February 14, 2019, United States l\/Iagistrate Judge Gina L. Simms authorized
a criminal complaint charging the defendant with violations of 18 U.S.C. §922(g)(3) and 21
U.S.C. § 844. The following day, the defendant was arrested and an initial appearance was held.

2. On February 27, 2019, a federal grand jury for the District of l\/Iaryland returned an
indictment charging the defendant with violations of 26 U.S.C. §5861(d) and (i), 18 U.S.C.
§ 922(g)(3), and 21 U.S.C. § 844. ECF No. 16.

3. An initial appearance and arraignment on the indictment were held on March 11,
2019. During the arraignment, the parties were apprised of a motions deadline set for April 1,
2019, and a status call set for 5:00 p.m. on April 3, 2019.

4. On March 13, 2019, the defendant moved to extend the deadline for filing motions

to a date to be set on the April 3, 2019, status call. ECF No. 21. The defendant cited voluminous

discovery as a basis for the motion. Id.

 

 

 

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5. ln accordance with the Speedy Trial Act, 18 U.S.C. § 3 l6l(c), the trial of a
defendant charged in an information or indictment shall commence within seventy days from the
filing date of the information or indictment, or from the date the defendant appeared before a
judicial officer, whichever date last occurs.

6. However, pursuant to 18 U.S.C. § 3161(h)(7), the Court may grant a continuance
of speedy trial when the ends of justice served by taking such action outweigh the best interest of
the public and the defendant in a speedy trial. Here, the parties believe that the ends of justice are
served by the continuance because defense counsel has stated the need for additional time to review
voluminous discovery. On the April 3, 2019, status call, the parties expect to request a date certain
for a motions deadline

7. The Government moves to exclude the time from March 13, 2019, through the
deadline to be set on the April 3, 2019, status call for the filing of motions, in computing the time
within which trial must commence under 18 U.S.C. § 3161(h)(7). According to the Governmcnt’s
motion, this exclusion will provide Sufficient time for defense counsel to review discovery and the
parties to prepare any pretrial motions.

8. The Court concludes that, pursuant to 18 U.S.C. § 3161(h), the ends ofjustice are
best served by excluding the time from l\/larch 13, 2019, through the deadline to be set on the April
3, 2019, status call for the filing of motions, in computing the time within which trial must
commence, and those ends outweigh the best interests of the public and the defendant in a speedy

trial.

 

 

 

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WHEREFORE, in the interest ofthe defendant and the interests of the public, it is
HEREBY ORDERED that the time from March 13, 2019, through the deadline to be set
on the April 3, 2019, status call for the filing ofmotions, be excluded in computing the time within

which trial must commence.

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Date Honorable George J. Hazel
United States District Judge

 

